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                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION
IN RE:                                 )        CHAPTER 11
                                       )
CWI CHEROKEE LF LLC                    )        CASE NUMBER: 23-52262-SMS
                                       )
      Debtor.                          )
                                       )

 DEBTOR’S AMENDED MOTION TO SELL ASSETS FREE AND CLEAR
 OF LIENS, CLAIMS, AND ENCUMBRANCES AND FOR (A) AN ORDER
 AND NOTICE (I) DIRECTING BIDDING PROCEDURES SUBJECT TO
  OBJECTION, (II) SETTING PRELIMINARY HEARING IN EVENT OF
 OBJECTION TO BIDDING PROCEDURES, AND (III) SETTING FINAL
   SALE HEARING; AND (B) AN ORDER AT FINAL SALE HEARING
              APPROVING SALE FREE AND CLEAR

      COMES NOW CWI Cherokee LF LLC, Debtor and Debtor-in-Possession

(“Debtor”), and submits this Motion to Sell Assets Free and Clear of Liens, Claims

and Encumbrances and for (A) an Order and Notice (i) Directing Bidding

Procedures Subject to Objection, (ii) Setting Preliminary Hearing in Event of

Objection to Bidding Procedures, and (iii) Setting Final Sale Hearing; and (B) an

Order at Final Sale Hearing Approving Sale Free and Clear (the “Motion”). In

support of the Motion, Debtor shows the Court as follows:

                                           1.

      This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and

1334, and this matter is a core proceeding under 28 U.S.C. § 157(b)(2). Venue is
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proper pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory predicates for the

relief sought herein are Sections 105(a), and 363(b), (f) and (m) of the Bankruptcy

Code.

                                            2.

        Debtor filed a petition for relief under Chapter 11 of the United States

Bankruptcy Code on March 7, 2023 (the “Petition Date”). No trustee has been

appointed and Debtor is operating its business as a debtor-in-possession.

                                            3.

        Debtor’s business (the “Business”) is the operation a landfill known as

Cherokee Industrial Landfill (“Landfill”). Debtor’s primary assets are a leasehold

interest in the Landfill and a transfer station in Muscle Shoals, Alabama (the “Muscle

Shoals Transfer Station”), which rights Debtor holds pursuant to a Lease Agreement

by and between the Solid Waste Disposal Authority of Muscle Shoals, Tuscumbia,

and Sheffield, Alabama (“SWDA”) as Lessor and Debtor as Lessee dated as of June

23, 2020 (the “Lease”), along with permits, equipment, and other assets attendant

with the operation of the Landfill, including a Disposal Agreement with the SWDA

dated June 23, 2020 (the “Disposal Agreement”).

                                            4.

        Debtor desires to sell the Bankruptcy Estate’s interest in all of the assets used


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in or relating to the Business (collectively, the “Subject Assets”), including

             a)     All of Debtor’s right, title, and interest in and to the Landfill and

             the Muscle Shoals Transfer Station, including the Lease and the

             Disposal Agreement;

             b)     Debtor’s right, title, and interest in that certain Ground Sublease

             and Lease of Improvements dated June 23, 2020 between CWI Transfer

             HSV, LLC and CWI Cherokee LF LLC, concerning certain described

             property in Limestone County, Alabama (the “Huntsville Transfer

             Station”)

             c)     All tangible personal property and equipment of Debtor located

             at the Landfill, Muscle Shoals Transfer Station; and Huntsville Transfer

             Station; and

             d)     All government authorizations, permits, and licenses Debtor

             holds in connection with the Business, to the extent transferrable.

                                           5.

      Debtor has engaged B. Riley Securities, Inc. (“B. Riley”) as its investment

banker to market and sell the Subject Assets as set forth herein, including to

potentially identify a stalking horse bidder and to marshal competing bidders for an

auction of the Subject Assets.


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                                           6.

      The Subject Assets are to be sold on an “As Is, Where Is” basis and may be

free and clear of all liens, claims, interests, and encumbrances. The Sale Order will

provide that Buyer is a good faith purchaser and is entitled to the protections of Section

363(m) of the Bankruptcy Code, provided that Buyer provides adequate evidence to

support such a finding.


A. Debtor’s Authority to Sell

                                           7.

      Section 363(b)(1) of the Bankruptcy Code provides that a trustee, "after notice

and a hearing, may use, sell, or lease, other than in the ordinary course of business,

property of the estate."

                                           8.

      Pursuant to section 1107 of the Bankruptcy Code, Debtor, as debtor-in-

possession, has all the rights and powers of a trustee.

                                           9.

      The proposed use, sale, or lease of property of the estate may be approved

under Bankruptcy Code § 363(b) if it is supported by sound business justification.

See In re Big Shanty Land Corp., 61 B.R. 272, 279 (Bankr. N.D. Ga. 1985); Comm.

of Equity Security Holders v. Lionel Corp., 722 F. 2d 1063, 1070 (2d Cir. 1983).

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Courts have made it clear that a debtor’s showing of a sound business justification

need not be unduly exhaustive but, rather, a debtor is “simply required to justify the

proposed disposition with sound business reasons.” In re Baldwin United Corp., 43

B.R. 888, 906 (Bankr. S.D. Ohio 1984). Whether or not there are sufficient business

reasons to justify a transaction depends upon the facts and circumstances of each

case. Lionel Corp., 822 F. 2d at 1070.

                                          10.

      Debtor believes that good cause exists to authorize the sale of the Subject

Assets under the procedures outlined herein and that such sale is in the best interest

of the bankruptcy estate and creditors. More specifically, the Landfill is not

currently operating and not presently generating an income stream for the

Bankruptcy Estate. Debtor believes that a sale of the Subject Assets is the best way

to generate funds for the Estate and to pay as much to creditors as possible. Further,

Debtor believes that an orderly sale of the Subject Assets will bring the highest and

best price possible.

                                          11.

      The Subject Assets will be exposed to the market pursuant to the Bidding

Procedures set forth below.




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                                           12.

      The sale is being proposed in good faith and the Buyer will be a good faith

purchaser. Section 363(m) of the Bankruptcy Code provides:

             The reversal or modification on appeal of an authorization
             under subsection (b) or (c) of this section of a sale or lease
             of property does not affect the validity of a sale or lease
             under such authorization to an entity that purchased or
             leased such property in good faith, whether or not such
             entity knew of the pendency of the appeal, unless such
             authorization and such sale or lease were stayed pending
             appeal.
11 U.S.C. § 363(m). While the Bankruptcy Code does not define "good faith", the

Third Circuit in In re Abbotts Dairies of Pennsylvania, Inc., 788 F.2d 143 (3d Cir.

1986), has held that:

             [t]he requirement that a purchaser act in good faith . . .
             speaks to the integrity of his conduct in the course of the
             sale proceedings. Typically, the misconduct that would
             destroy a purchaser's good faith status at a judicial sale
             involves fraud, collusion between the purchaser and other
             bidders or the trustee, or an attempt to take grossly unfair
             advantage of other bidders.
788 F.2d at 147 (citations omitted).




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                                          13.

      Debtor submits that marketing and auction held pursuant to the procedures

outlined herein will produce a good faith purchaser. Debtor thus requests that the

Bankruptcy Court make a finding that the successful bidder at an auction has

purchased the Subject Assets in good faith within the meaning of Section 363(m) of

the Bankruptcy Code.

                                          14.

      Debtor submits that the bidding procedures assure that the sale will be at the

highest and best price and to a good faith purchaser.

                                          15.

      Based on the above analysis and considerations, in Debtor’s business

judgment, the sale of the Subject Assets pursuant to the procedures proposed herein

is in the best interest of the Bankruptcy Estate and creditors.


B.    Sale Free and Clear of Liens, Claims, and Encumbrances

                                          16.

      Depending on the terms of the offers received, the proposed sale may be free

and clear of all liens, claims, interests, and encumbrances, or subject to existing

secured indebtedness. Estate property may be sold free and clear under 11 U.S.C. §

363(f)(1) if applicable non-bankruptcy law permits it, under Section 363(f)(2) if such

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lien holder consents, under Section 363(f)(3) where the price at which the property

is to be sold is greater than the aggregate value of all liens on the property, under

Section 363(f)(4) if such interest is in bona fide dispute, or under Section 363(f)(5),

if a lien holder could be compelled to accept a money satisfaction in a legal or

equitable proceeding.

                                         17.

      The following liens, interests, and encumbrances are claimed against Debtor’s

property:

             (i)    Consistent with the Cash Collateral Order, UMB Bank NA (the

             “Bond Trustee”) holds a valid, enforceable, binding, non-avoidable and

             perfected lien Debtor, without defense, claim, counterclaim, challenge

             or offset of any kind, as follows (collectively, the “Prepetition Bond

             Claims”): (i) unpaid principal on the Bond in the amount of

             $18,340,000; (ii) unliquidated, accrued and unpaid fees and expenses

             of the Bond Trustee and its professionals incurred through the Petition

             Date (which amounts, when liquidated, shall be added to the aggregate

             amount of the Prepetition Bond Claims); and (iii) any applicable

             premiums, indemnities and all other obligations arising under or related

             to the Bond Documents through the Petition Date, including any


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             applicable premium owed in accordance with Section 3.02 of the

             governing indenture.

             (ii)    Upon information and belief, Caterpillar Financial Services

             asserts a security interest in certain equipment of Debtor, to wit: a mini

             excavator, D3 skid steer, and D6 LGP dozer. The outstanding amount

             of such debt is approximately $146,667;

             (iii)   Upon information and belief, the Shoals Solid Waste Disposal

             Authority may assert an interest in a Caterpillar 826 Compactor

             pursuant to a lease with option to purchase agreement between Debtor

             and Shoals Solid Waste Disposal Authority. The outstanding amount

             of such debt is approximately $524,000.

                                         18.

      To satisfy section 363(f) of the Bankruptcy Code, a trustee need only satisfy

one of the five conditions set forth above. See Citicorp Homeowners Servs., Inc. v.

Elliot (In re Elliot), 94 B.R. 343, 345 (E.D. Pa. 1988) (section 363(f) is written in

the disjunctive; court may approve sale “free and clear” provided at least one of the

subsections is met); In re Shary, 152 B.R. 724, 725 (Bankr. N.D. Ohio 1993) (same);

see also In re Flyboy Aviation Props., LLC, 501 B.R. 828, 834 (Bankr. N.D. Ga.




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2013) (“In order to satisfy the requirements of section 363(f) only one subsection

must be satisfied.”).

                                            19.

      Section 363(f)(3) authorizes a debtor to sell estate property “free and clear” if

the price at which the property is to be sold is greater than the aggregate value of all

liens on the property. See 11 U.S.C. § 363(f)(3). If the price at which the Subject

Assets will be sold is greater than the aggregate value of the liens on the Subject

Assets, Section 363(f)(3) will be satisfied and the Subject Assets may be sold “free

and clear.” In re Terrace Gardens Park P'ship, 96 B.R. 707, 713 (Bankr. W.D. Tex.

1989).

                                            20.

      Moreover, Section 363(f)(2) provides that the Debtor may sell estate property

“free and clear” of another entity’s interest in that property if “such entity consents.”

See 11 U.S.C. § 363(f)(2). The Bidding Procedures provide the Bond Trustee with

consent rights over the sale of the Subject Assets and the Bond Trustee reserves all

rights with respect to such consent and compliance with Section 363(f)(2).




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                                         21.

      The sale proposed herein is reasonable and proper under Sections 363 and 365

of the Bankruptcy Code and is in the best interests of the Debtor, its creditors, and

the estate. Accordingly, the sale should be approved.


C.    Assigned Contracts

                                         22.

      Any proposed sale will provide for the Debtor to assume and assign certain

executory contracts (the “Assigned Contracts”), as may be identified by the proposed

Buyer.

                                         23.

      Pursuant to Section 541 of the Bankruptcy Code, any Assigned Contracts are

property of Debtor’s estate, which may be sold and assigned consistent with Sections

363 and 365 of the Bankruptcy Code.

                                         24.

      Debtor proposes the following procedures for satisfying 11 U.S.C. §

365(b)(1)(A) and (B):

             (1)    To the extent any party to an executory contract, as identified in

             Debtor’s schedules, contends that a default exists within the meaning

             of Section 365(b)(1)(A) or that it is owed compensation at the time of

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            assumption of such contract pursuant to Section 365(b)(1)(A) or (B),

            said party shall give Debtor notice (the “Cure Notice”) of such assertion

            on or before July 11, 2023, including specifically the dollar amount of

            any monetary default or compensation which said party contends is

            owed and a detailed explanation of any nonmonetary defaults said party

            contends must be cured in connection with the assumption of such

            executory contract;

            (2)     To the extent Debtor disputes any Cure Notice, Debtor requests

            that the Court, at the Final Sale Hearing, set an amount which shall be

            held in escrow (a “Cure Holdback”) pending final adjudication of the

            cure amount;

            (3)     Debtor requests that the Court find that such Cure Holdback

            provides adequate assurance, within the meaning of Section

            365(b)(1)(A) and (B), to such counterparties to any Assigned Contracts,

            and that the order approving the sale authorize the assumption and

            assignment of such Assigned Contracts.

                                         25.

      It shall be each prospective Buyer’s responsibility for providing evidence

necessary for the Court to find that the assignee can provide adequate assurance of


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future performance of an Assigned Contract within the meaning of Section

365(b)(1)(C) of the Bankruptcy Code. Each prospective Buyer will assume all

obligations that arise after the Closing under each Assigned Contract. The Debtor

will be relieved of any post-assignment liability for any breach of an Assigned

Contract in accordance with Section 365(k) of the Bankruptcy Code.


D.    Break-Up Fee

                                         26.

      Debtor proposes that the Stalking Horse Bid, as that term is defined herein,

will receive bidder protections in the form of a Break-Up Fee, providing that, to the

extent a sale of the Subject Assets is consummated to a party other than the Stalking

Horse Bidder while the Stalking Horse Bidder is ready, willing, and able to close the

transaction and is not in default, that said Stalking Horse be paid from the proceeds

of said closing a “Break-Up Fee” in the amount of 2.5% of the purchase price

provided in the Stalking Horse Bid. For the avoidance of doubt, if the Bond Trustee

serves as the Stalking Horse Bidder, the Bond Trustee is entitled to the Break-Up

Fee. However, if the Bond Trustee does not serve as the Stalking Horse Bidder but

is the Successful Bidder, the Bond Trustee is required to pay the Break-Up Fee to

the Stalking Horse Bidder.




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                                         27.

      Sellers of assets often employ buyer protections in order to encourage the

making of other purchase offers. These protections are “important tools to encourage

bidding and to maximize the value of the Debtors’ assets.” In re Integrated

Resources, Inc., 147 B.R. 650, 659 (S.D.N.Y. 1992). The Debtors submit that the

proposed Breakup Fee will not hamper or deter competitive bidding for the Subject

Assets. Rather, it will encourage bidding by providing prospective buyers with an

incentive to bid for the Identified Assets and will likely serve as a magnet for an

initial Stalking Horse Bid and other bids.


E.    Sale Procedures

                                         28.

      Debtor proposes the following procedures and bidding requirements

(“Bidding Procedures”), and submits that such sale process and procedures will

assure the integrity of the bidding process and promote higher and better bids from

qualified bidders.

                                         29.

      Debtor, in consultation with the Bond Trustee, shall immediately begin

marketing and soliciting offers to purchase the Subject Assets on reasonable and

customary terms, subject to the Bidding Procedures. Debtor, in consultation with

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the Bond Trustee, shall provide such information as they reasonably believe

necessary to adequately market and sell the Subject Assets, and may require that

interested parties execute a non-disclosure agreement prior to accessing non-public

information of the Debtor.

                                         30.

      Debtor will request Initial Indications of Interest (“IOIs”) from prospective

purchasers to be delivered on or before May 25, 2023, copies of which the Debtor

shall provide to the Bond Trustee as soon as reasonably practical after such IOIs

have been received by the Debtor; provided, however, that the Bond Trustee shall

not disclose the contents of any such IOIs to any other creditor, prospective bidder,

party, or non-party except that the Bond Trustee may disclose the IOIs to the

bondholders provided such bondholders shall not disclose the IOIs to any other

creditor, prospective bidder, party, or non-party and agree in advance to be bound

by this order.

                                         31.

      On or before June 29, 2023, Debtor will receive potential stalking horse bids

from prospective buyers. Debtor shall provide copies of such received bids as soon

as reasonably practical to the Bond Trustee; provided, however, that the Bond

Trustee shall not disclose the contents of any such bids to any other creditor,


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prospective bidder, party, or non-party; except that the Bond Trustee may disclose

the stalking horse bids to the bondholders provided such bondholders shall not

disclose the Stalking Horse Bids to any other creditor, prospective bidder, party, or

non-party and agree in advance to be bound by this order.

                                         32.

      On or before July 11, 2023, Debtor, subject to the consent of the Bond Trustee,

will select a bid (the “Designated Stalking Horse Bid”) to serve as the Stalking Horse

Bid and the Debtor shall file such Stalking Horse Bid with the Court. The Stalking

Horse Bid shall be deemed a Qualified Bid, as that term is defined herein.

                                         33.

      Between July 11, 2023, and July 28, 2023, Debtor will receive Qualified Bids.

To be considered a qualified bid (a “Qualified Bid”), subject to the consent of the

Bond Trustee, the bid must be provided to the Debtor and the Bond Trustee in

accordance with the order approving the Bidding Procedures and include:

             (i)    On substantially the same or better terms than those set forth in

             the Designated Stalking Horse Bid;

             (ii)   In a fully acceptable form, not subject to any inspection, title,

             financing, zoning, or other contingency or conditions precedent to the

             bidder’s obligation to purchase the Subject Assets;


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             (iii)   Offer a purchase price of not less than the Designated Stalking

             Horse Bid, plus the Break-Up Fee, plus an overbid of $100,000.00..

             (iv)    Deliver an earnest money deposit in an amount not less than ten

             (10) percent of the bid amount (“Earnest Money”);

             (v)     Provide for a closing date of August 14, 2023; and

             (vi)    Provide any information reasonably requested by Debtor, in

             consultation with the Bond Trustee, to ensure to Debtor’s reasonable

             satisfaction that such bidder is financially capable of consummating the

             transaction.

                                           34.

      The Bond Trustee has an absolute right to credit bid an amount up to the total

amount of its claim (as set forth in this Motion and the Cash Collateral Order) and

unless a Designated Stalking Horse bid, in an amount not less than as described in

paragraph 33 (a “Credit Bid”). A Credit Bid shall constitute a Qualified Bid, without

the need to place a deposit or provide information as described above. Upon exercise

of a Credit Bid, the Bond Trustee shall have the right to designate any person or

entity to take title to the Subject Assets that are subject to the credit bid, and provided

that such designee takes title, the Bond Trustee shall not have any obligation in

connection with or be deemed to have taken title to or ownership of, or have any


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obligation in connection with the Subject Assets.. The Bond Trustee will not be a

Backup Bidder unless the Bond Trustee consents in writing. The Bond Trustee’s

Credit Bid may also serve as the Stalking Horse Bid, provided that it is highest and

best bid to be selected as the Stalking Horse Bid. If the Bond Trustee serves as the

Stalking Horse Bidder, the Bond Trustee is entitled to the Break-Up Fee approved

under this Motion.

                                         35.

      Bids shall be delivered to Debtor’s counsel and B. Riley such that they are

actually received on or before the applicable deadlines. Bids may be submitted to:

            John A. Christy, Esq.
            Schreeder, Wheeler & Flint, LLP
            1100 Peachtree Street, N.E.
            Suite 800
            Atlanta, Georgia 30309-4516
            Telephone: (404) 681-3450
            jchristy@swfllp.com

with a copy to

            Perry Mandarino
            B. Riley Securities, Inc.
            pmandarino@brileyfin.com

and


            Randall Brater
            ArentFox Schiff LLP
            1717 K Street NW

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             Washington, D.C. 20006
             randall.brater@afslaw.com


A Qualified Bid is firm and binding upon each Potential Bidder at the time that such

bid is submitted to Debtor’s counsel.

                                         36.

      If Debtor’s counsel receives two or more Qualified Bids, Debtor will conduct

an auction with respect to the sale of the Subject Assets on August 5, 2023, at 10:00

a.m. local Atlanta time, at the offices of Schreeder, Wheeler & Flint, LLP, 1100

Peachtree Street NE, Suite 800, Atlanta, Georgia 30309, or such other time and

location as may be designated by the Debtor upon reasonable notice to Qualified

Bidders (the “Auction”). Only persons who submitted a Qualified Bid shall be

allowed to participate in the Auction. Bidding shall begin initially with the highest

and best Qualified Bid received, and subsequently continue in minimum increments

of $100,000. The Debtor will conduct the Auction in the manner it determines, in

consultation with the Bond Trustee, will result in the highest, best, or otherwise

financially most superior offer for the Subject Assets; provided that, if the Bond

Trustee informs Debtor of its intent to Credit Bid, Debtor will have no further

obligation to consult with the Bond Trustee on the manner of conducting the

Auction. The Auction shall be conducted openly and shall be transcribed. The


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required minimum amount of incremental bids may be adjusted by Debtor, in

consultation with the Bond Trustee, subject only to a requirement of good faith. The

bidding will not conclude until each participating bidder has had the opportunity to

submit any additional Qualified Bid(s) with full knowledge of the existing highest

bid. If Debtor’s counsel receives only one Qualified Bid on or before the Bid

Deadline, Debtor’s counsel will report this fact to the Bankruptcy Court at the Final

Sale Hearing and proceed, subject to the consent of the Bond Trustee, with the sale

of the Subject Assets to such bidder.

                                         37.

      The Debtor, subject to the consent of the Bond Trustee which consent shall

not be unreasonably withheld, reserves the right to determine, in its reasonable

discretion, the value of any Qualified Bid and to determine which Qualified Bid

constitutes the highest, best, or otherwise financially most superior offer for the

Subject Assets; provided, however, that such determination shall be subject to

review and approval of the Bankruptcy Court.

                                         38.

      At the conclusion of the bidding, Debtor will announce its determination .

subject to the consent of the Bond Trustee which consent shall not be unreasonably

withheld, as to the bidder (the "Successful Bidder") submitting the highest and best


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bid for the Subject Assets (the "Successful Bid"). The sale order designating the

Successful Bid, shall be in a form acceptable to the Bond Trustee and submitted to

the Bankruptcy Court for its consideration for approval at the Sale Hearing.

                                            39.

      Debtor may identify, in its discretion and subject to the consent of the Bond

Trustee which consent shall not be unreasonably withheld, the bid or bids which

constitute the next highest or best offer for the Subject Assets (the “Backup Bid”,

and such person submitting such Backup Bid, the “Backup Bidder”).

                                            40.

      By submitting a bid, each Qualified Bidder shall be deemed to acknowledge

that it has had an opportunity to inspect the Subject Assets and any pertinent

documents prior to bidding and that such Qualified Bidder relied solely on that

review and upon its own investigation and inspection regarding the Subject Assets

in making its offers.

                                            41.

      The Debtor requests that a final hearing to approve the sale (“Sale Hearing”)

be scheduled to take place as soon as practical after the auction date. Debtor reserves

the right to request that the Court reschedule the Sale Hearing; provided, however,

that nothing herein modifies or limits the Bond Trustee’s right to approve


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modifications under the Final Cash Collateral Order [Doc. 87], including paragraph

11 thereof. Debtor shall be deemed to have accepted a bid only when the bid has

been approved by the Court at the Sale Hearing.

                                         42.

      The Earnest Money(s) shall be distributed, as follows:

            (1)     Upon Closing of the transaction for which the Earnest Money

                    was made, to Debtor, with all other Earnest Money deposits

                    returned to the respective unsuccessful bidders;

            (2)     Upon any breach by a Qualified Bidder prior to Closing, to

                    Debtor;

            (3)     Upon or within ten (10) days after entry of a final order by the

                    Bankruptcy Court disapproving the transaction for which the

                    Earnest Money was made: refunded to the Successful Bidder;

            (4)     Upon or within ten (10) days after written notification to the

                    Successful Bidder by Debtor of Debtor's inability to close the

                    transaction, then refunded to the Successful Bidder; or

            (5)     If, due to the Successful Bidder's failure to consummate the sale

                    of the Subject Assets, Closing does not occur within (i) the time

                    period set forth in the Agreement with respect to the Successful


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                    Bid, (ii) an additional time period acceptable to Debtor in

                    writing, or (iii) an additional time period authorized by the

                    Bankruptcy Court: to Debtor.

             (6)    Earnest Money released to the Debtor in accordance with this

                    Paragraph shall become property of the Bankruptcy Estate,

                    subject to the rights of creditors and parties in interest.

      Debtor’s counsel shall hold any Earnest Money received in accordance with

these Bidding Procedures in an escrow account.                Each Qualified Bidder

acknowledges that Debtor’s counsel shall act in accordance with these Bidding

Procedures without further instructions. Debtor and Debtor’s counsel shall have no

duties or obligations with respect to the Bidding Procedures except those expressly

set forth herein and in the applicable Agreement. Debtor’ counsel shall not be

required to invest the Earnest Money in an interest earning account or to segregate

each deposit, but may, in its sole discretion, do so. In the event of a dispute between

a Successful Bidder and Debtor or Debtor’s counsel, Debtor’s counsel shall have the

right to retain the Earnest Money in escrow, and Debtor, Debtor’s counsel, or the

party making the Earnest Money may apply to the Bankruptcy Court for a

determination of the rights and obligations of Debtor, Debtor’s counsel, and the party

making the Earnest Money. The fact that Debtor’s counsel serves as holder of the


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Earnest Money shall not disqualify it from representing the Debtor in any dispute

over the disposition of the Earnest Money.

                                          43.

      Debtor will not be deemed to have accepted any bid, including the Successful

Bid, until the Bankruptcy Court has entered an Order approving the Successful Bid

and Debtor's consummation of the sale. In the event Closing does not take place as

provided below, Debtor reserves the right to accept, subject to the consent of the

Bond Trustee which consent shall not be unreasonably withheld, the next highest

and best Qualified Bid.

                                          44.

      If the Successful Bidder fails to close in accordance with the terms of the

Successful Bid and the Order approving the sale, the Earnest Money of such

Successful Bidder will be retained by Debtor as liquidated damages, and not a

penalty, it being agreed by participation in the bid process that actual damages are

impossible to determine, and such Earnest Money shall become property of the

Bankruptcy Estate, subject to the rights of creditors and parties in interest including

the Bond Trustee’s liens and claims under the Cash Collateral Order. In such event,

the Subject Assets will be sold to the Qualified Bidder submitting the next highest




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bid which is able to close in accordance with the terms of the Agreement, as the case

may be.

                                         45.

      If Debtor does not consummate a sale of the Subject Assets for any reason

(other than the Successful Bidder's failure to consummate a sale in accordance with

the Agreement, as the case may be, and the Order approving the sale), Debtor's sole

obligation shall be to refund the Earnest Money (if one was made by the Successful

Bidder) to the Successful Bidder.

                                         46.

      Closing of the sale of the Subject Assets (the "Closing") shall take place in

accordance with the closing date set forth in the Successful Bid, but in any event no

later than August 14, 2023, unless extended by the Debtor, subject to the consent of

the Bond Trustee. With respect to Closing, time is of the essence.

                                         47.

      The balance of the purchase price shall be paid by the Successful Bidder to

Debtor, by wire transferred, certified funds or other good funds at Closing in a form

acceptable to Debtor.




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                                            48.

      All adjustments to be made in connection with Closing, if any, shall be made

as provided in the Successful Bid.

                                            49.

      In the event of any conflict in the terms and conditions set forth herein and in

any agreement for purchase of the Subject Assets approved by the Bankruptcy Court

("Approved Purchase Agreement"), the court’s Order shall govern.

                                            50.

      The Sale Hearing is to confirm a sale free and clear by the entry of a “Final

Sale Order,” and authorize specific payments from the proceeds of the sale at

Closing.

                                            51.

      The Final Sale Order shall provide that all liens, claims, encumbrances, and

interests in, to, or under the Subject Assets are removed from the Subject Assets and

transferred and attached to the proceeds of the sale of the Subject Assets in the same

priority and to the same extent and validity as such liens, claims, encumbrances, and

interests attached to the Subject Assets.




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                                          52.

      Debtor may, in its discretion and subject to the consent of the Bond Trustee,

waive or modify any deadline herein, or to request continuance of any hearing

scheduled pursuant to this Motion

WHEREFORE, Debtor requests that the Bankruptcy Court, after notice and hearing,

             (i) authorize Debtor, pursuant to 11 U.S.C. §§ 105, and 363 (b), (f), and

(m) and Bankruptcy Rule 6004, to market the Subject Assets for sale and conduct

an auction in accordance with the terms of the Agreement, and to take such other

acts as may be necessary and appropriate to effectuate the terms of this Motion,

             (ii) set a final hearing as soon as practical following August 5, 2023, to

approve the sale of the Subject Assets free and clear of all liens, claims, interests,

and encumbrances, with all such valid liens, claims, interests, and encumbrances

attaching to the proceeds of the sale in the same order of priority as they attached to

the Subject Assets;

             (iii) set the amount of any Cure Holdbacks as described herein, find

that such Cure Holdbacks provide adequate assurance to any counterparty to an

Assigned Contract, and authorize the assumption and assignment of the Assigned

Contracts;

             (iv) find that the Buyer is a good faith purchaser of the Subject Assets


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within the meaning of Section 363(m) of the Bankruptcy Code;

            (v) Order that the approval shall be effective immediately pursuant to

Bankruptcy Rules 7062, 9014, 6004(h) and 6006(d), and shall be final upon entry

and not stayed; and

            (vi) grant such other and further relief as is just and proper.

      This 9th day of May, 2023.

                                               /s/
                                               JOHN A. CHRISTY
                                               Georgia Bar 125518
                                               JONATHAN A. AKINS
                                               Georgia Bar No. 472453
                                               Attorneys for Debtor

SCHREEDER, WHEELER & FLINT, LLP
1100 Peachtree Street, N.E.
Suite 800
Atlanta, Georgia 30309-4516
Tel:        (404) 681-3450
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Email:      jchristy@swfllp.com
            jakins@swfllp.com




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                                        CERTIFICATE OF SERVICE



          This is to certify that I have served a copy of the within and foregoing

documents on all counsel of record via the Court’s CM/ ECF system or by placing a

copy of the same in the United States Mail, with sufficient postage thereon to ensure

delivery on the parties identified in the attached service list.


          This 9th day of May, 2023.

                                                             /s/ Jonathan A. Akins
                                                             JONATHAN A. AKINS
                                                             Georgia Bar No. 472453

SCHREEDER, WHEELER & FLINT, LLP
1100 Peachtree Street, N.E., Suite 800
Atlanta, Georgia 30309-4516
Tel: (404) 681-3450
Fax: (404) 681-1046
K:\10773\1\23-52262\Pleadings\CWI - Bid Procedures Motion (final v.2).DOCX
               Case 23-52262-sms     Doc 94   Filed 05/09/23            Entered 05/09/23 17:31:40      Desc Main
Label Matrix for local noticing          10 Kings  LLC
                                            Document            Page 30 of 36            ADCO Pipe & Supply LLC
113E-1                                   80 W. Wieuca Road NE                            4014 Florence Blvd
Case 23-52262-sms                        Suite 170                                       Florence AL 35634
Northern District of Georgia             Atlanta, GA 30342-3258                          United States’ 35634-2636
Atlanta
Tue May 9 14:50:35 EDT 2023
ADP Inc                                  ADP, Inc.                                       AI Equity
1851 N. Resler                           c/o CT Corporation System                       1648 61st Street
El Paso, TX 79912-8023                   289 S. Culver St.                               Brooklyn, NY 11204-2109
                                         Lawrenceville, GA 30046-4805


AJ EQUITY GROUP LLC                      (p)STATE OF ALABAMA DEPARTMENT OF REVENUE       AL Dept. of Revenue, Business Privilege Tax
1648 61St                                P O BOX 320001                                  P O Box 327320
Brooklyn, NY 11204-2109                  MONTGOMERY AL 36132-0001                        Montgomery AL’ 36132-7320



AT&T                                     Jonathan A Akins                                Alabama Child Support Payment Center
c/o Business Bankruptcy                  Schreeder, Wheeler & Flint, LLP                 P.O. Box 244015
PO Box 769                               Suite 800                                       Montgomery AL 36124-4015
Arlington, TX 76004-0769                 1100 Peachtree Street NE
                                         Atlanta, GA 30309-4516

Alabama Department of Labor              Alabama Dept. of Environmental Management       Alabama Dept. of Environmental Management
649 Monroe Street                        Permits and Services Division                   Permits and Services Division
Montgomery, Alabama 36131-0099           1400 Coliseum Blvd.                             PO Box 301463
                                         Montgomery, Alabama 36110-2400                  Montgomery, Alabama 36130-1463


Alabama Hose Products                    Alexander Land Surveying                        American Paper & Twine
610 Tyler Avenue                         Morton & Associates                             7400 Cockrill Bend Blvd.
Muscle Shoals AL 35661-2324              102 S. Court Street, Suite 317                  PO Box 90348
                                         Florence, AL 35630-5633                         Nashville TN 37209-0348


American Services, LLC                   Anderson Trucking, LLC                          Andys Wrecker Service
2281 Stateline Rd W                      5505 McCaleb Drive                              20850 Highway 72
Southaven, MS 38671-1112                 Dora, Alabama 35062-2144                        Tuscumbia AL 35674-6834



Apache Electrical Contractors Inc.       Arnolds Truck Stop, Inc.                        Athens Utilities
115 Ryland Ridge Circle, Unit 39         1460 Highway 20                                 P.O. Box 830200
Huntsville AL 35811-7944                 Tuscumbia AL 35674-6078                         Birmingham AL 35283
                                                                                         United States’ 35283-0200


Atomic Transport LLC                     Atomic Transport, LLC                           Auto-Owners Insurance
Po Box 2548                              PO BOX 2548                                     P O Box 740312
Chattanooga TN 37409                     Chattanooga, TN 37409-0548                      Cincinnati OH 45274-0312
United States’ 37409-0548


BTs Tires, Towing & Roadside             James Blake Bailey                              Bill Cohen
19592 Piney Chapel Road                  Bradley Arant Boult Cummings, LLP               3630 Peachtree Road, Suite 940
Athens AL 35614-6140                     One Federal Place                               Atlanta, Georgia 30326-1551
                                         1819 5th Avenue North
                                         Birmingham, AL 35203-2119
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Black & Hughston                                    BlueDocument
                                                         Cross Blue ShieldPage
                                                                           of Alabama
                                                                                  31 of 36        Blue Cross Blue Shield of Alabama
406 West Avalon Avenue                              PO Box 362165                                 Payment Processing
Muscle Shoals AL 35661-2808                         Birmingham, AL 35236-2165                     P O Box 360037
                                                                                                  Birmingham AL 35236-0037


Bluevine Capital Inc.                               Branums Inc.                                  Randall A. Brater
30 Montgomery Street, Suite 1400                    1364 Old Hwy 24                               Arent Fox Schiff LLP
Jersey City, NJ 07302-3857                          Trinity AL 35673-5600                         1717 K Street NW
                                                                                                  Washington, DC 20006-5344


Brentwood Development                               Brickstone Fund                               Brook T Smith Investment
P O Box 30                                          5314 16th Avenue                              2307 River Road, Suite 200
Mooresville AL 35639’ 35649-0030                    Suite 139                                     Louisville, KY 40206-5005
                                                    Brooklyn, NY 11204-1425


Beth M. Brownstein                                  Burr & Forman LLP                             Byars
Arent Fox LLP                                       P O Box 830719                                Wright, Inc.
1301 Avenue of the Americas                         Birmingham AL 35283-0719                      P.O. Box 1309
42nd Floor                                                                                        Jasper AL 35501’ 35502-1309
New York, NY 10019-6040

CDG Engineering                                     CT Corporation                                CWI Alabama LLC
P.O. Box 278                                        P O Box 4349                                  1750 Cane Creek Road
Andalusia AL 36420-1205                             Carol Stream IL 60197-4349                    Cherokee AL 35616’



CWI Cherokee LF LLC                                 CWI Cherokee Landfill LLC                     CWI Enterprises LLC
3284 Northside Parkway, Suite 600                   P O Box 740550                                3284 Northside Parkway, Suite 600
Atlanta, GA 30327-2282                              Tuscumbia AL 35674-7419                       Atlanta GA 30327-2282



CWI Transfer HSV LLC                                Carolina Software                             Carter Enterprises, LLC
c/o Amy Pearson, First State Bank, 101 S            P.O. Box 3097                                 3260 County Road 45
Lonoke AR’                                          Wilmington NC 28406-0097                      Stanton AL 36790-3601



(p)CATERPILLAR FINANCIAL SERVICES CORPORATION       Cherokee Auto Parts                           Cherokee Truck & Trailer Repairs
2120 WEST END AVENUE                                8430 Hwy 72                                   P.O. Box 65
NASHVILLE TN 37203-5341                             Cherokee AL 35616-4403                        Cherokee AL 35616-0065



John A. Christy                                     City of Athens                                Civil Group LLC
Schreeder, Wheeler & Flint, LLP                     PO Box 1089                                   919 E Avalon Avenue, Suite B
1100 Peachtree Street                               Athens, AL 35612-1089                         Muscle Shoals AL 35661-2338
Suite 800
Atlanta, GA 30309-4516

CliftonLarsonAllen LLP                              Comcast                                       Corporate Billing LLC
PO Box 740863                                       P.O. Box 71211                                P O Box 830604, Dept 100
Atlanta GA 30374-0863                               Charlotte NC 28272-1211                       Birmingham AL 35283-0604
                                                    United States’ 28272-1211
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Daniel Rosser                                Davis Services
                                                Document           Page 32 of 36             Day Help
201 North Main Street                        5340 Hawk Pride Mountain Road                   432 Magazine Street
Tuscumbia AL 35674-2042                      Tuscumbia AL 35674-7202                         Tupelo MS 38804-4734



Denali                                       Dentons Sirote PC                               Dentons Sirote PC
P.O. Box 740903                              Stephen B. Porterfield, Esq                     Post Office Box 55509
Atlanta, GA 30374-0903                       Dentons Sirote PC                               Birmingham AL 35255-5509
                                             2311 Highland Avenue South
                                             Birmingham, AL 35205-2972

Derek Griffin                                Duck Trout Marketing Co.                        (p)EAST MANUFACTURING CORP
80 W. Wieuca Road NE                         1165 Standard Drive                             PO BOX 277
Suite 170                                    Atlanta GA 30319-3355                           RANDOLPH OH 44265-0277
Atlanta, GA 30342-3258


Eddies Collision Repair Inc.                 Evergreen Environmental                         Evergreen Environmental Partners, LLC
21441 Highway 24                             300 Noble Hill Road                             425 Eagle Rock Avenue, Suite 201
Russellville AL 35653-6617                   Attalla, AL 35954-0010                          Roseland, NJ 07068-1717



(p)FIRST METRO BANK                          Fleet Pride                                     Fuller Heating & Air
406 W AVALON AVENUE                          1336 State Hwy 20                               509 Woodward Avenue
MUSCLE SHOALS AL 35661-2808                  Tuscumbia, Alabama 35674                        Muscle Shoals AL 35661-1545



Fundamental Capital SPE                      Kathleen G. Furr                                G. Brian Patterson, Revenue Commissioner
100 Garden City Plaza                        Baker Donelson                                  100 S Clinton Street, Suite A
Suite 410                                    3414 Peachtree Road, NE                         Athens AL 35611-2665
Garden City, NY 11530-3216                   Suite 1500, Monarch Plaza
                                             Atlanta, GA 30326-1153

GT Michelli Co., Inc.                        Gilbert Jean                                    Glenn E. Glover
130 Brookhollow Esplanade                    2811 Long Drive                                 Bradley Arant Boult Cummings LLP
Harahan LA 70123-5102                        Jasper AL 35504-9108                            One Federal Place
                                                                                             1819 Fifth Avenue North
                                                                                             Birmingham, AL 35203-2119

Michael Guippone                             Gunn Co Pump & Control Inc.                     Lee B. Hart
ArentFox Schiff LLP                          P O BOX 2789                                    Nelson Mullins Riley & Scarborough, LLP
42nd Floor                                   CUMMING GA 30028-6510                           Suite 1700
1301 Avenue of the Americas                                                                  201 17th Street, NW
New York, NY 10019-6040                                                                      Atlanta, GA 30363-1099

Alan Hinderleider                            Hines Tire Center, Inc.                         Homrich
Office of the United States Trustee          419 South Court Street                          200 Matlin Road
362 Richard B Russell Federal Building       Florence AL 35630-5613                          Carleton MI 48117-9799
75 Ted Turner Drive, S.W.
Atlanta, GA 30303-3315

Huntsville Utilities                         ICS                                             IPFS Corporation of the South
Huntsville AL 35895                          501 S. Wood Avenue                              P O Box 730223
United States’ 35895-0001                    Florence, Alabama 35630-5753                    Dallas TX 75373-0223
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ISCO Industries, Inc.                        Integrated
                                                DocumentCorporate Solutions,
                                                                    Page 33Inc.
                                                                             of 36           Internal Revenue Service
1974 Solutions Center                        P.O. Box 443                                    P. O. Box 7346
Chicago IL 60677-1009                        Florence AL 35631-0443                          Philadelphia, PA 19101-7346



Internal Revenue Service                     J.T. Ray Company                                J.W. Hines Tire & Recycling Co., Inc.
Centralized Insolvency Operation             4127 Helton Drive                               1313 East 6th Street
Post Office Box 7346                         Florence, Alabama 35630-6207                    Tuscumbia AL 35674-2931
Philadelphia, PA 19101-7346


JJ Keller & Associates Inc.                  JLW Contracting LLC                             James E. Alexander Land Surveying
P O Box 6609                                 2310 Bennett Rd                                 PO Box 160
Carol Stream IL 60197-6609                   Jasper AL 35503-4309                            Sheffield, AL 35660-0160



Jonathan Guthrie                             Justin Taylor                                   Kellys Truck Tire Service
Patrick Beard Schulman & Jacoway, P.C.       5210 Stonehaven View                            2832 Jordan Lane NW
537 Market Street Suite 300                  Cummings GA 30040-0573                          Huntsville AL 35816-1037
Chattanooga, TN 37402-1239


(p)KOMATSU AMERICA CORP                      Law Office of Tom Heflin                        Leigh, King & Associates PC
ATTN BEA BARRY                               P O Box 320                                     603 E 2nd St
8770 W BRYN MAWR AVENUE STE 100              Sheffield AL 35660-0320                         Sheffield AL 35660-3276
CHICAGO IL 60631-3782


Leigh, King , Norton & Underwood PC          Limestone County District Court                 Madison Mobile Storage Inc.
603 East Second Street                       P.O. Box 964                                    P O Box 2222
Sheffield AL 35630’ 35660-3276               Athens AL 35611’ 35612-0964                     Decatur AL 35609-2222



Marland Hayes                                Marshall Roberts                                Mid South Septic
Hayes Ingram LLC                             80 W. Wieuca Road NE                            11284 Gulf Stream Rd
PO Box 2653                                  Suite 170                                       Arlington, TN 38002-9807
Tuscaloosa, AL 35403-2653                    Atlanta, GA 30342-3258


Midsouth Paving Inc.                         Mobile Mini                                     NAPA Auto Parts
23066 US-72                                  PO Box 650882                                   84310 Hwy 72
Tuscumbia, Alabama 35674                     Dallas TX 75265-0882                            Cherokee AL 35616’



NEXTRAN Truck Centers                        Napa-Moore Automotive Supply, Inc.              NortonUnderwood PC
13880 Highway 20                             PO Box 512                                      102 N Main Street
Madison AL 35758’                            Tishomingo MS 38873-0512                        Tuscumbia AL 35674-2041



On-Site Environmental                        P&F Industrial Enterprises                      PIRTEK Huntsville
2605 Chelsea Ave                             1140 4th Street                                 303 Hazelwood Avenue
Memphis, TN 38108-1706                       Cherokee AL 35616-7151                          Dothan AL 36303-3851
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Phil Adams                                        Stephen B. PorterfieldPage 34 of 36
                                                     Document                                     Profleet Semi Truck & Trailer Repair
Walker Building                                   Dentons Sirote, P.C.                            615 Cox Street
205 South Ninth Street                            Suite 500                                       Corinth MS 38834-6012
PO Box 2069                                       2311 Highland Avenue S.
Opelika, Alabama 36803-2069                       Birmingham, AL 35205-2973

Prudential                                        Ray Miller Buick-GMC, Inc.                      Reed Maintenance
P O Box 41594                                     246 Cox Creek Parkway                           4700 Union Grove Road
Philadelphia PA 19176-1594                        Florence, Alabama 35630-1571                    Union Grove AL 35175-8197



Regions Bank                                      Republic Services                               Romans Lock Service
Corporate Trust Operations                        PO BOX 677839                                   1205 SW 11 1/2 Avenue
250 Riverchase Parkway, E                         Dallas, TX 75267-7839                           Sheffield AL 35660-5710
4th Floor
Birmingham AL 35244-1832

SEAM Financial LLC                                Searcy Tire LLC                                 Secretary of the Treasury
P O Box 1506                                      3356 Mulberry Lane                              15th & Pennsylvania Avenue, NW
O’Fallon IL 62269’ 62269-1506                     Cherokee AL 35616-5360                          Washington, DC 20200



Sheffield Insurance                               Sheffield Utilities                             Simmons Tire Company
900 Corporate Drive                               P O Box 580                                     P O Box 808
Birmingham AL 35242-2929                          Sheffield AL 35660-0580                         Sheffield AL 35660-0808



Robert J. Solomon                                 Southern Environmental Engineering Inc.         Southern Tire Mart
Solomon Baggett, LLC                              P O Box 3241                                    Dept 143, P O Box 1000
3763 Rogers Bridge Road                           Florence AL 35630-0010                          Memphis TN 38148’ 38101-2402
Duluth, GA 30097-2845


Kevin A. Stine                                    Gary E. Sullivan                                TEC Cherokee Office
Baker Donelson                                    Hayes Ingram LLC                                P O Box 23728
Monarch Plaza, Suite 1600                         600 Lurleen Wallace Blvd S                      Jackson MS 39225-3728
3414 Peachtree Road, N.E.                         Suite 160 Courthouse Plaza
Atlanta, GA 30326-1153                            Tuscaloosa, AL 35401-1734

TN Dept. of Labor and Workforce Development       Terrain Technology, Inc.                        The McPherson Companies
220 French Landing Drive                          2993 Heavenly Lane                              5051 Cardinal St
Nashville, TN 37243-1002                          Snellville GA 30078-6681                        CREDIT DEPARTMENT
                                                                                                  TRUSSVILLE, AL 35173-1871


The McPherson Companies Inc.                      The McPherson Companies Inc.                    Thompson Tractor Co., Inc.
5051 Cardinal Street                              Dept #6445                                      PO Box 934005
Trussville, AL 35173-1871                         P O Box 11407                                   Atlanta GA 31193-4005
                                                  Birmingham AL 35246-3035


Todd Moreland                                     Tommy L. Oswalt, Revenue Commissioner           Town of Cherokee
PO Box 3069                                       P.O. Box 741010                                 P O Box D
Chattanooga, TN 37404-0069                        Tuscumbia AL 35674-7423                         Cherokee AL 35616-0200
               Case 23-52262-sms             Doc 94       Filed 05/09/23           Entered 05/09/23 17:31:40            Desc Main
Tractor & Equipment Company                          Tri Document
                                                         Cities Truck PartsPage 35 of 36                  TriCities / Shoals Solid Waste Disposal Auth
P O Box 12326                                        1200 E 2nd Street                                    P O Box 408
Birmingham AL 35202-2326                             Muscle Shoals AL 35661-1710                          Tuscumbia AL 35674-0408



Troxel Trailer                                       Truckworx Kenworth                                   Tuscumbia Utilities
1004 Burlington Road                                 Corporate Billing, Dept 100                          P.O. Box 269
Saginaw TX 76179-1237                                PO Box 830604                                        Tuscumbia AL 35674-0269
                                                     Birmingham AL 35283-0604


U. S. Securities and Exchange Commission             U.S. Postal Service                                  United Site Services of MS, LLC
Office of Reorganization                             Accounting Service Center                            150 Pioneer Drive
Suite 900                                            2825 Loan Oak Parkway                                Killen AL 35645-7912
950 East Paces Ferry Road, NE                        Eagan, MN 55121-1551
Atlanta, GA 30326-1382

United States Attorney                               United States Treasury                               United States Trustee
Northern District of Georgia                         P O Box 742562                                       362 Richard Russell Federal Building
75 Ted Turner Drive SW, Suite 600                    Cincinnati OH 45280-2562’ 45274-2562                 75 Ted Turner Drive, SW
Atlanta GA 30303-3309                                                                                     Atlanta, GA 30303-3315


Valicor Environmental Services                       Walker County Circuit Clerk                          Warrior Energy
Dept 77380                                           1801 3rd AVE                                         9002 Energy Lane
PO Box 77000                                         STE 205                                              Northport, Alabama 35476-3453
Detroit, MI 48277-2000                               Jasper AL 35501-5390


Waste Connections                                    Waste Connections                                    Watson McKinney LLP
Northeast Mississippi Regional                       PO Box 311                                           200 Clinton Avenue W, Suite 110
P.O. Box 311                                         Walnut, MS 38683-0311                                Huntsville AL 35801-4934
Walnut MS 38683-0311


Wayne Holt                                           Wes Shafto                                           Wilks Tire & Batter Service
3210 Hatch Blvd                                      1818 Avenue of Americas                              428 N Broad St
Sheffield AL 35660-1604                              Monroe, LA 71201-4530                                Albertville AL 35950-1761




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


AL Department of Revenue                             Caterpillar Financial Services                       East Manufacturing Corp.
50 North Ripley Street                               P.O. Box 730681                                      P.O. Box 277
Montgomery AL 36132                                  Dallas TX 75373’                                     Randolph OH 44265’
United States’


First Metro Bank                                     Komatsu Financial                                    (d)Komatsu Financial Limited Partnership
301 N. Main Street                                   8770 W. Bryn Mawr Ave, Suite 100                     8770 W Bryn Mawr Avenue
Tuscumbia, Alabama 35674                             Chicago, IL 60631                                    Suite 100
                                                                                                          Chicago, IL 60631
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                   The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)B. Riley Securities, Inc.                           (u)Schuyler Espy                                     (u)Scott Galanti
                                                       Burr & Forman LLP




(u)REGIONS BANK                                        (u)Solid Waste Disposal Authority of the Citi        (u)UMB Bank, National Association




(u)Waste Connections of Mississippi, Inc.              End of Label Matrix
                                                       Mailable recipients   170
                                                       Bypassed recipients     7
                                                       Total                 177
